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                    EXHIBIT 9
          Case: 1:17-md-02804-DAP Doc #: 2063-10 Filed: 07/26/19 2 of 2. PageID #: 286195




Subject:                                    FW: Summit (OH), Cuyahoga (OH), and Cleveland (OH) Service Waivers
Attachments:                                County of Summit (OH) Waiver - MNK plc - Signed.pdf; Cuyahoga County (OH) Waiver
                                            - MNK plc - Signed.pdf; City of Cleveland (OH) Waiver - MNK plc - Signed.pdf




From: Maerowitz, Max <Max.Maerowitz@ropesgray.com>
Sent: Friday, January 11, 2019 12:28 PM
To: Aelish Baig <AelishB@rgrdlaw.com>; lsinger@motleyrice.com; dloeser@KellerRohrback.com;
dko@KellerRohrback.com; dkawamoto@kellerrohrback.com; Tom Egler <TomE@rgrdlaw.com>; Matthew Melamed
<MMelamed@rgrdlaw.com>
Cc: O'Connor, Brien <Brien.O'Connor@ropesgray.com>; O'Connor, Andrew <Andrew.O'Connor@ropesgray.com>; Tsai,
Rocky C. <Rocky.Tsai@ropesgray.com>; Bradley, Nick <Nick.Bradley@ropesgray.com>
Subject: Summit (OH), Cuyahoga (OH), and Cleveland (OH) Service Waivers

Counsel:

Please see attached executed service waivers sent on behalf of Mallinckrodt plc in the following actions that are now
pending in N.D. Ohio, MDL 2804:
    • County of Summit, Ohio v. Purdue Pharma L.P., et al.
    • Cuyahoga County, Ohio v. Purdue Pharma L.P., et al.
    • City of Cleveland, Ohio v. Purdue Pharma L.P., et al.

In executing these service waivers under Federal Rule of Civil Procedure 4, Mallinckrodt plc continues to reserve all
rights and defenses in the above actions, including but not limited to those related to personal jurisdiction, except that in
accordance with the Federal Rules we will waive objections to the absence of a summons or of service.

Please let me know if you have any questions.

Regards,
Max


Max R. Maerowitz
ROPES & GRAY LLP
T +1 617 235 4129
Prudential Tower, 800 Boylston Street
Boston, MA 02199-3600
Max.Maerowitz@ropesgray.com
www.ropesgray.com


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